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 Attorneys for Plaintiffs C. R. Bard, Inc. and
 Bard Peripheral Vascular, Inc.

                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

                                                 )
 C. R. BARD, INC., a New Jersey                  )
 corporation, and BARD PERIPHERAL                )
 VASCULAR, INC., an Arizona                      ) JOINT MOTION AND STIPULATION FOR
 corporation,                                    )         EXTENSION OF TIME
                                                 )
          Plaintiffs,                            )     Case No. 2:12-cv-00032-RJS-DAO
                                                 )
 v.                                              )          Judge Robert J. Shelby
                                                 )     Magistrate Judge Daphne A. Oberg
 MEDICAL COMPONENTS, INC., a                     )
 Pennsylvania corporation,                       )
                                                 )
 Defendant.                                      )
                                                 )


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          Plaintiffs C. R. Bard, Inc., and Bard Peripheral Vascular, Inc. (“Bard”) and Defendant

 Medical Components, Inc. (“Medcomp”), through their counsel of record, hereby jointly move

 and stipulate to an extension of time for Bard to file its Response to Medcomp’s Motion to File

 Second Amended Answer and Counterclaims to Bard’s Amended Complaint (D.I. 321). The

 parties also jointly move and stipulate to an extension of time for Medcomp to file its Reply in

 Support of Medcomp’s Motion to File Second Amended Answer and Counterclaims to Bard’s

 Amended Complaint. Bard’s response is currently due on January 25, 2021, and Medcomp’s

 reply is currently due on February 8, 2021. Accordingly, the parties stipulate to extend the time

 for Bard to file a response to February 1, 2021, and for Medcomp to file its reply to February 16,

 2021.

          Bard and Medcomp also hereby jointly move and stipulate to an extension of time for

 Bard to file its Reply in Support of its Motion to Strike Medcomp’s Inequitable Conduct

 Allegations in its Final Invalidity Contentions. Bard’s Reply is currently due on January 25,

 2021. Accordingly, the parties stipulate to extend the time for Bard to file its Reply to February

 1, 2021.

          The joint request for extension of time is sought in good faith, and not for delay. Bard’s

 primary trial counsel is preparing for and attending a trial in another patent case in Delaware.

 Additional time is being sought to accommodate the time constraints of trial counsel. The parties

 do not believe the request for additional time will create any unfair prejudice.




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          Dated this 20th day of January, 2021.

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                                                  Approved as to form and content,

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